  Case: 1:19-cr-00864 Document #: 666 Filed: 02/09/24 Page 1 of 1 PageID #:24394




                       UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

 UNITED STATES OF AMERICA                 )
                                          )
                     v.                   )         No.   19 CR 864
                                          )
 RISHI SHAH et al.,                       )         Judge Thomas M. Durkin


               WITHDRAWAL OF AUSA MATTHEW F. MADDEN

      Please take notice that Assistant United States Attorney Matthew F. Madden

is no longer assigned to this case.


                                              Respectfully submitted,

                                              MORRIS PASQUAL
                                              Acting United States Attorney


                                      By: /s/ Matthew F. Madden
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